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8                            UNITED STATES DISTRICT COURT

9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11   UNITED STATES OF AMERICA,               No. SA CR 15-155-JLS

12              Plaintiff,                   PERSONAL MONEY JUDGMENT OF
                                             FORFEITURE
13                   v.

14   MICHAEL R. DROBOT,

15              Defendant.

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17        Pursuant to the Stipulation and request of the parties filed in
18   this matter on February 1, 2018, the Court hereby finds and orders as
19   follows:
20        1.    On January 26, 2016, defendant entered into a plea
21   agreement in the case captioned United States v. Michael R. Drobot,
22   No. SA CR 15-155-JLS, pursuant to which he agreed to plead guilty to
23   conspiracy, in violation of 18 U.S.C. § 371, and Payment of Kickbacks
24   in Connection with a Federal Health Care Program, in violation of 42
25   U.S.C. § 1320a-7b(b)(2)(A).      (CR 14.)
26        2.    Pursuant to his plea agreement, defendant agreed to forfeit
27   all “right title, and interest” in assets “derived from or acquired
28   as a result of, or used to facilitate the commission of, defendant’s
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1    illegal activities.”     (Id. at ¶ 3(a).)     Defendant further agreed

2    “[t]o the Court’s entry of an order of forfeiture at or before

3    sentencing with respect to these assets and to the forfeiture of the

4    assets.”    (Id. at ¶ 3(b).)

5         3.     The entry of a judgment of forfeiture is specifically

6    authorized by Rule 32.2 of the Federal Rules of Criminal Procedure

7    and is part of the defendant’s sentence.        Rule 32.2(c)(1) provides

8    that “no ancillary proceeding is required to the extent that the

9    forfeiture consists of a money judgment.”

10        4.     Pursuant to the stipulation, defendant expressly waived the

11   requirements of Federal Rules of Criminal Procedure 32.2. and 43(a)

12   regarding notice of forfeiture in the charging instrument,

13   pronouncement of forfeiture at sentencing, and incorporation of

14   forfeiture in the personal money judgment of forfeiture.           Defendant

15   further agreed to immediate entry of the Judgment, and that the

16   personal money judgment of forfeiture shall become final as to him

17   upon entry.

18        5.     A personal money judgment of forfeiture in the amount of

19   $1,000,000.00 (one million dollars) is HEREBY ENTERED in favor of the

20   United States of America against defendant Michael R. Drobot.

21        6.     Defendant shall partially satisfy this personal money

22   judgment of forfeiture by payment of the sum of $250,000 to the

23   United States Attorney’s Office (“USAO”) on the date specified in

24   parties’ stipulation and pursuant to instructions to be provided by

25   the USAO.

26        7.     This personal money judgment of forfeiture is part of the

27   sentence imposed on defendant in this case.

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1         8.   This Court shall retain jurisdiction for the purpose of

2    enforcing this personal money judgment of forfeiture.           The government

3    shall notify the Court upon defendant’s satisfaction of his

4    obligations under this judgment.

5         IT IS SO ORDERED.

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7
     February 06, 2018
8    DATE                                   HONORABLE JOSEPHINE L. STATON
                                            UNITED STATES DISTRICT JUDGE
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